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  8                     UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
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 11    DARRYL JOHNSON,                          Case No. 2:20-cv-03272-JVS-PD
 12                     Petitioner,
                                                ORDER ACCEPTING
 13          v.
                                                REPORT AND ADOPTING,
 14    STUART SHERMAN,                          FINDINGS, CONCLUSIONS,
                                                AND RECOMMENDATIONS
 15                     Respondent.             OF UNITED STATES
 16                                             MAGISTRATE JUDGE, AND
                                                DENYING CERTIFICATE OF
 17                                             APPEALABILITY
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            Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the
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      records on file, and the Report and Recommendation of United States
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      Magistrate Judge (“Report”). The Court accepts the Report and adopts it as
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      its own findings and conclusions. Accordingly, the Petition is dismissed with
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      prejudice.
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  1         Further, for the reasons stated in the Report and Recommendation, the
  2   Court finds that Petitioner has not made a substantial showing of the denial
  3   of a constitutional right and, therefore, a certificate of appealability is denied.
  4   See 28 U.S.C. § 2253(c)(2); Fed. R. App. P. 22(b); Miller-El v. Cockrell, 537
  5   U.S. 322, 336 (2003).
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      DATED: October 25, 2021.
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                                           JAMES V. SELNA
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                                           UNITED STATES DISTRICT JUDGE
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